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                        UNITED STATES DISTRICT COURT                                k; i
                          DISTRICT OF NEW HAMPSHIRE                 -^              '
                                                                         r ll.LLj

                                                                  2019 OCT 25 P 12: 22
UNITED STATES OF AMERICA


          V.                                             Docket No.: l:19-mj-0177-AJ

LOUIS TOBIN



                            WAIVER OF SPEEDY TRIAL


       NOW COMES,Louis Tobin, represented by Michael C. Shklar, Esq. of Elliott,

Jasper, Auten, Shklar & Ranson, LLP and hereby respectfully states the following:

       I, Louis Tobin, Defendant in the above captioned case, do hereby waive my right

to a speedy trial ir this matter insofar as affected by a certain Motion to Extend Time to

Indict which has been filed previously in this matter.


Dated this t'j     day of October, 2019

                                             Louis Tobin
